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                                        OAKLAND DIVISION
20
     IN RE COLLEGE ATHLETE NIL                   Case No. 4:20-cv-03919-CW
21   LITIGATION
                                                 SUPPLEMENTAL BRIEF IN SUPPORT
22                                               OF FINAL APPROVAL
                                                 Judge: Hon. Claudia Wilken
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                                                   SUPPLEMENTAL BRIEF IN SUPPORT OF FINAL
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 1           The Court indicated that it would grant final approval if the parties “modify the settlement
 2 agreement” so that no members of the Injunctive Relief Settlement Class will lose a roster spot

 3 “because of the . . . implementation of the settlement agreement.” Order 3 (emphasis added). After

 4   extensive interactions with Member Institutions and thorough discussions involving Class
 5   Counsel, the Objectors, and Mediator Eric Green, Defendants and Class Counsel have addressed
 6   this concern by ensuring that those class members are getting what they had before the settlement
 7   was announced—the opportunity to be on a roster without being subject to roster limits.
 8           Specifically, the proposed modifications to the settlement agreement will allow NCAA
 9   Member Institutions participating in the Pool structure to exceed NCAA and conference roster
10   limits for any current or incoming student-athlete who was or would have been removed from a
11   roster because of the implementation of roster limits, for the entirety of their remaining eligibility.
12   In other words, all student-athletes who were or would have been removed from rosters because
13   of the implementation of roster limits are eligible to earn a spot at their schools or other schools,
14   without counting against the roster limits. This approach restores the pre-settlement status quo for
15   these class members so that they will not lose roster spots “because of” the roster limits. That
16   eliminates, beyond any doubt, any remaining question as to whether the settlement is fair and
17   reasonable for the Injunctive Relief Settlement Class as a whole.
18           The edits to the Settlement Agreement to implement this new approach are as follows. The
19   initial step is adding a new defined term, “Designated Student-Athlete,” to encompass two
20   categories of student-athletes who were or would be removed from rosters due to the roster
21   limits. The first is all student-athletes who have been on a Member Institution’s roster during the
22   current season (the 2024-25 Academic Year) and have eligibility remaining. The second is all
23   newly incoming student-athletes (including but not limited to current high school seniors) who
24   were assured by a Member Institution they would have a spot on that Member Institution’s roster
25   for the 2025-26 Academic Year. It is unclear whether the Court’s Order contemplated relief for
26   this latter category, but after review of the Objections filed earlier in the approval process, vigorous
27   negotiations with Class Counsel, and discussions with their Member Institutions, Defendants
28   agreed to encompass this latter category in the amendment as well.
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 1          The second step is a revision to Article 4 (which establishes the roster limits) that allows
 2   Member Institutions, in consultation with coaches and others in their athletic departments, to
 3   exceed the roster limits for any “Designated Student-Athletes” for the duration of their eligibility.
 4   Member Institutions participating in the Pool structure will identify and report all of their
 5   “Designated Student-Athletes.” They will then be allowed to exceed the roster limits, now and in
 6   the future, for any or all of those Designated Student-Athletes, even if they were identified by other
 7   Member Institutions. In other words, even if a Designated Student-Athlete’s original Member
 8 Institution does not exceed the roster limits to add her, she can attempt to find a spot at a different

 9 Member Institution without counting against its roster limits. These edits fully address the issues

10 raised by the Court and at the final approval hearing.

11          For example, the roster limits would no longer pose an obstacle to:
12      •   a student-athlete who is a college sophomore this year, and was told by a Member
13          Institution she would be removed from the roster due to the roster limits, continuing to
14          participate at that Member Institution for her junior and senior years.
15      •   that same student-athlete competing at a different Member Institution that wants to include
16          her on its roster for her junior and senior years.
17      •   A college junior student-athlete returning to the Member Institution she transferred from
18          due to the implementation of roster limits.
19      •   a current high school senior participating for four years at any Division I Member
20          Institution, without counting against its roster limit, despite previously having been told
21          she would no longer have a roster spot at her original Member Institution due to the
22          implementation of roster limits.
23          The revisions do maintain the discretion of Member Institutions to decide whether to
24   provide roster spots to Designated Student-Athletes. In other words, there are no guarantees that
25   Designated Student-Athletes will get or maintain roster spots. But that does not adversely affect
26   any Injunctive Relief Class Member. As Defendants have previously explained—and as no party
27   or Objector has disputed—roster spots are not guaranteed under existing NCAA rules. See, e.g.,
28   Nemeth v. Auburn Univ., No. 3:19-CV-715-RAH-JTA, 2021 WL 3375669, at *4 (M.D. Ala. Aug.
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 1   3, 2021) (“New coaching staffs must make assessments of their team and team needs, and previous
 2   walk-on team members are not guaranteed roster spots through the expiration of their collegiate
 3   eligibility.”) (emphasis added). Before the settlement was announced, whether an existing or
 4 incoming student-athlete would receive a roster spot was completely at the discretion of the coach

 5 and the Member Institution. See id. (“[T]he roster spot expectations of a walk-on player are not

 6 equivalent to those of a scholarship player”). And walk-on roster spots, once granted, were not

 7 guaranteed. A coach could revoke a roster spot for any reason—including, but not limited to,

 8 dissatisfaction with athletic performance, a preference for replacing the student-athlete with a more

 9 talented player, or the desire to have a smaller roster such that each player remaining on the roster

10 gets more playing opportunities. While the revisions to the Settlement Agreement maintain that

11 established discretion, they allow Member Institutions to roster, or continue to roster, anyone who

12 would have been removed because of the implementation of roster limits, and allow those student-

13 athletes to find opportunities for competition at any Member Institution that wants to roster them

14 without counting against roster limits.

15          The bottom line is that all current or incoming 2025-26 Division I student-athletes who
16 were removed or told they would be removed as a result of NCAA or conference roster limits can

17 compete for a roster spot at their schools or other schools without counting against the roster

18 limit, for the duration of their NCAA eligibility.

19          To the extent the Objectors want more, e.g., guaranteed roster spots or years of delay in
20 imposing roster limits, Defendants respectfully submit they are overreaching by misconstruing

21 what Rule 23 requires. The Court agreed that roster limits are a valid part of the settlement because

22 Defendants offered procompetitive justifications for them. Order 2. The Court’s stated concern

23 was not with the existence of roster limits, but the possibility that Injunctive Relief Class Members

24 may lose roster spots “because of” the immediate implementation of the roster limits. Order

25 3. The revisions wholly eliminate that possibility and allow student-athletes who were removed

26 (or who were advised they might be removed) to be eligible for roster spots without the roster

27 limits posing any obstacle.

28          As a result, the settlement does not “cause harm to some members of the Rule 23(b)(2)
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 1   class,” Order 3, because class members are getting what they had before roster limits were
 2 announced—the chance to be on a roster at a school’s discretion. See, e.g., In re Motor Fuel

 3 Temperature Sales Pracs. Litig., No. 07-MD-1840-KHV, 2012 WL 1415508, at *14 (D. Kan. Apr.

 4 24, 2012), aff’d, 868 F.3d 1122 (10th Cir. 2017) (approving class action settlement that left no

 5 class members worse off and gave them opportunity to receive an additional benefit, and rejecting

 6 objection that plaintiff must show that the settlement affirmatively benefits all class members); See

 7 also Cohen v. Brown Univ., 16 F.4th 935, 945–46, 953 (1st Cir. 2021) (affirming approval of class

 8 settlement, and noting that a settlement need not be “perfect,” or benefit all class members in the

 9 same way, to be “fair, reasonable, and adequate”); Bayat v. Bank of the W., No. C-13-2376 EMC,

10   2015 WL 1744343, at *5–6 (N.D. Cal. Apr. 15, 2015) (approving settlement even when “class
11   members who did not obtain injunctive relief are worse off as a result of this settlement”—which
12 the modifications to the settlement ensure will not be the case here).

13          Moreover, attempting to guarantee roster spots would raise a host of practical and legal
14 difficulties. Even if student-athletes were to receive a guaranteed right of return, they could be cut

15 the next day for athletic performance or other reasons. See Nemeth, 2021 WL 3375669, at *4. It

16 is hard to see how that is a preferable outcome for Injunctive Relief Class Members compared to

17   allowing them to attend schools that actually want them on their rosters, particularly now that they
18   will not count against roster limits. Going farther and affirmatively guaranteeing roster spots to a
19   group of student-athletes would raise additional concerns, including preferencing this group of
20   Injunctive Relief Class Members over others (e.g., student-athletes who have to compete for roster
21   spots in a future year). It would also implicate Title IX and other Member Institution-specific
22   issues, because coaches may make initial commitments early in the recruiting cycle that Member
23   Institutions later have to balance appropriately.
24          More broadly, the Objectors fail to acknowledge the uncontested reality that walk-on
25   student-athletes have never been guaranteed anything and must also be separately admitted to a
26   university to be on a roster. Objectors have identified no authority, and Defendants are aware of
27   none, allowing the kind of judicial micromanagement of the decisions of independent academic
28   institutions that Objectors seem to envision. See id. at *5 (“[I]t is axiomatic that federal courts do
                                                         -4-
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 1   not sit as super-personnel departments that reexamine an entity’s business decisions,” or “as super-
 2 coaching staffs that reexamine coaching decisions concerning talent, skill, and what constitutes

 3 the level of play necessary to succeed.”).

 4          Defendants appreciate the opportunity to address the Court’s sole remaining concern
 5 regarding the Settlement Agreement. Because the Parties believe they have fully addressed the

 6 issue, the Court should grant final approval. If approved, the settlement will immediately provide

 7 significant new benefits to class members—which for many will be life-changing—without

 8 harming anyone relative to the status quo. That outcome is vastly superior to any alternative,

 9 including years of continued litigation that would, at best, considerably delay any benefits to the

10 classes, and at worst provide them with nothing at all.

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 2           I, Rakesh N. Kilaru, am the CM/ECF user whose ID and password are being used to file
 3    the Defendants’ Supplemental Brief in Support of Final Approval. In compliance with Local Rule
 4    5-1(i)(3), I hereby attest that concurrence in the filing of this document has been obtained from
 5    each of the other signatories.
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